                                                   Clear Form
DOCUMENTS UNDERCase5:15-cr-00226-EJD
                 SEAL                   Document40                     Filed07/13/15
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                                                                                               3 1
M AGISTRATE JUDGE              DEPUTY CLERK                                        REPORTER/FTR
M INUTE ORDER                 P. Cromwell                                        FTR 1:34-1:37`
MAGISTRATE JUDGE               DATE                                                NEW CASE        CASE NUMBER
Howard R. Lloyd                         July 13, 2015                                              15-cr-00226-BLF
                                                    APPEARANCES
DEFENDANT                               AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.     RET.
Douglas Stroms York                               N        P       Graham Archer                         APPT.
U.S. ATTORNEY                           INTERPRETER                             FIN. AFFT              COUNSEL APPT'D
Brianna Penna                                                                   SUBMITTED

PROBATION OFFICER          PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR              PARTIAL PAYMENT
                           L. Walton                                APPT'D COUNSEL                OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                          STATUS
                                                                                                           TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT             BOND HEARING            IA REV PROB. or           OTHER
                             Superseding                                         or S/R
       DETENTION HRG             ID / REMOV HRG          CHANGE PLEA             PROB. REVOC.              ATTY APPT
                                                                                                           HEARING
                                                   INITIAL APPEARANCE
        ADVISED               ADVISED                   NAME AS CHARGED             TRUE NAME:
        OF RIGHTS             OF CHARGES                IS TRUE NAME
                                                      ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON              READING W AIVED            W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                SUBSTANCE
                                                       RELEASE
      RELEASED          ISSUED                     AMT OF SECURITY         SPECIAL NOTES               PASSPORT
      ON O/R            APPEARANCE BOND            $                                                   SURRENDERED
                                                                                                       DATE:
PROPERTY TO BE POSTED                        CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL               DETAINED           RELEASED      DETENTION HEARING             REMANDED
      FOR             SERVICES                                                AND FORMAL FINDINGS           TO CUSTODY
      DETENTION       REPORT                                                  W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
   CONSENT                    NOT GUILTY                  GUILTY                   GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                CHANGE OF PLEA              PLEA AGREEMENT           OTHER:
   REPORT ORDERED                                         FILED
                                                      CONTINUANCE
TO:                              ATTY APPT               BOND                   STATUS RE:
July 14, 2015                    HEARING                 HEARING                CONSENT                  TRIAL SET

AT:                              SUBMIT FINAN.            PRELIMINARY           CHANGE OF                STATUS
                                 AFFIDAVIT                HEARING               PLEA
9:00 am                                                   _____________
BEFORE HON.                      DETENTION                ARRAIGNMENT            MOTIONS                 JUDGMENT &
                                 HEARING                                                                 SENTENCING
Beth Labson Freeman
       TIME W AIVED              TIME EXCLUDABLE          IDENTITY /            PRETRIAL                 PROB/SUP REV.
                                 UNDER 18 § USC           REMOVAL               CONFERENCE               HEARING
                                 3161                     HEARING
                                              ADDITIONAL PROCEEDINGS




                                                                                     DOCUMENT NUMBER:
